Case 2:17-bk-50809   Doc 145-1 Filed 10/14/20       Entered 10/14/20 17:06:52   Desc
                     Exhibit Exhibits A through T   Page 1 of 8
Case 2:17-bk-50809   Doc 145-1 Filed 10/14/20       Entered 10/14/20 17:06:52   Desc
                     Exhibit Exhibits A through T   Page 2 of 8
Case 2:17-bk-50809   Doc 145-1 Filed 10/14/20       Entered 10/14/20 17:06:52   Desc
                     Exhibit Exhibits A through T   Page 3 of 8
Case 2:17-bk-50809   Doc 145-1 Filed 10/14/20       Entered 10/14/20 17:06:52   Desc
                     Exhibit Exhibits A through T   Page 4 of 8
Case 2:17-bk-50809   Doc 145-1 Filed 10/14/20       Entered 10/14/20 17:06:52   Desc
                     Exhibit Exhibits A through T   Page 5 of 8
Case 2:17-bk-50809   Doc 145-1 Filed 10/14/20       Entered 10/14/20 17:06:52   Desc
                     Exhibit Exhibits A through T   Page 6 of 8
Case 2:17-bk-50809   Doc 145-1 Filed 10/14/20       Entered 10/14/20 17:06:52   Desc
                     Exhibit Exhibits A through T   Page 7 of 8
Case 2:17-bk-50809   Doc 145-1 Filed 10/14/20       Entered 10/14/20 17:06:52   Desc
                     Exhibit Exhibits A through T   Page 8 of 8
